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                          UNITED STATES DISTRICT COURT
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                        NORTHERN DISTRICT OF CALIFORNIA
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                                       OAKLAND DIVISION
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                                              ) CASE NO.: 4:18-cv-06753-PJH
14   VLADI ZAKINOV, et al.,                   )
                                              ) [PROPOSED] ORDER GRANTING
15                             Plaintiff,     ) MOTION TO WITHDRAW AS
                                              ) COUNSEL FOR DEFENDANTS RIPPLE
16                                            ) LABS INC., XRP II, LLC, AND
                v.                            ) BRADLEY GARLINGHOUSE
17                                            )
                                              )
18   RIPPLE LABS INC., et al.,                )
                                              )
19                             Defendants.    )
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        [PROPOSED] ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANTS
                                 CASE NO. 4:18-CV-06753-PJH
         Case 4:18-cv-06753-PJH Document 73 Filed 10/18/19 Page 2 of 2



 1        Pursuant to Civil Local Rules 5-1(c)(2)(E) and 11-5(a), Skadden, Arps, Slate, Meagher &
 2 Flom LLP’s request to withdraw as counsel for Defendants Ripple Labs Inc., XRP II, LLC, and

 3 Bradley Garlinghouse is GRANTED.
                                                            S DISTRICT
 4        IT IS SO ORDERED.                              ATE           C
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             October 18, 2019                                  O ORD
     DATED:___________________                          IT IS S




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                                                                              Hamilto
                                                                  hyllis J.




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                                                         Judge P




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 7                                       Honorable Phyllis Hamilton




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                                                  E R District Judge
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         [PROPOSED] ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANTS
                                  CASE NO. 4:18-CV-06753-PJH
